Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF FLORIDA,
                     FORT LAUDERDALE DIVISION

                           CASE NO.: 0:23-cv-62228-RLR

                      (Lower Tribunal Case No. 22-15694-SMG)

   PATRICK DALY, ELIZABETH
   DALY, ALL PAVING AND
   SEALCOATING, LLC, and
   PATRICK DALY AND
   ELIZABETH DALY AS THE
   MAJORITY SHAREHOLDERS
   OF ALL PAVING, INC.,

         Appellants,

   v.

   DAREN C. DALY,

          Appellee.



           APPELLANTS’ MOTION TO CONSOLIDATE APPEALS

        Appellants, Patrick Daly, Elizabeth Daly, All Paving and Sealcoating, LLC,

 and Patrick Daly and Elizabeth Daly as the majority shareholders of All Paving, Inc.,

 by and through undersigned counsel and pursuant to Rule 42(a) of the Federal Rules

 of Civil Procedure, Rule 8003(b)(2) of the Federal Rules of Bankruptcy Procedure

 and Local Rule 87.4 (2023), file Appellants’ Motion to Consolidate Appeals (the

 “Motion”) and as grounds therefore, state as follows:
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Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 2 of 6
                                                                Case No.: 0:23-cv-62228-RLR


                       Factual and Procedural Background

       The claims involved in this bankruptcy appeal as well as the appeal in the

 adversary proceeding described below 1 arise out of a dispute involving the

 ownership of All Paving, Inc. and whether Appellants are creditors of Appellee.

 Appellee filed for bankruptcy relief under Chapter 11 of the United States

 Bankruptcy Code (11 U.S.C. §§ 101 et seq.) on July 26, 2022 (the “Daren Daly

 Bankruptcy Case”), claiming ownership of All Paving, Inc. as an asset of the estate.

 Appellants filed a proof of claim in the Daren Daly Bankruptcy Case claiming

 ownership of the stock and damages. Appellants also filed an adversary proceeding

 objecting to the dischargeability of the debt under various subsections of 11 U.S.C.

 § 523 (a). Adv. Proc. No. 22-1391-SMG (the “Adversary Proceeding”). On

 November 8, 2023, after a multi-day trial, which combined the issues in the Daren

 Daly Bankruptcy Case with the Adversary Proceeding, the Bankruptcy Court

 rendered its Memorandum Opinion in the Daren Daly Bankruptcy Case, (the “Main

 Case Opinion”), [Bankr. Ct. ECF No. 190](Attached to the notice of appeal in this

 matter at Dkt. 1),2 which addressed the issue of stock ownership and Appellants’

 proof of claim, as did the Order Determining Ownership of Stock in All Paving, Inc.


 1
   Case No. 0:23-cv-62227-AMC, pending in the United States District Court for the
 Southern District of Florida.
 2
   The Opinions, Orders and Judgments referenced in this Motion are part of Docket
 Entry #1 in each District Court Appeal case.
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Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 3 of 6
                                                                Case No.: 0:23-cv-62228-RLR


 and (II) Sustaining Debtor’s Objection to Claim No. 13-1 [Bankr. Ct. ECF No.

 191](the “Stock Ownership Order”). Appellants, by virtue of this appeal, seek

 reversals of the Main Case Opinion and Stock Ownership Order.

       In addition to the instant appeal and directly related thereto is the appeal (Case

 No. 23-cv-62227) in the Adversary Proceeding in which the Bankruptcy Court

 entered the identical Memorandum Opinion entered in the Daren Daly Bankruptcy

 Case [Adv. Proc. ECF No. 185](see Notice of Appeal in Case No. 23-cv-62227, Dkt.

 1. The opinion serves as the findings and conclusions underlying the Final Judgment

 entered in the adversary proceeding. [Adv. Proc. ECF No. 186 and 187]. .

       Because of the complete overlap of the facts and law, and the identity of the

 parties, the contested matters arising in the Daren Daly Bankruptcy Case were

 litigated in a consolidated manner and in the same trial as the Adversary Proceeding,

 resulting in the Bankruptcy Court’s rendition of its identical decision in both cases

 on November 8.

       Appellants assert that the appeal of the adversary proceeding should be

 consolidated into this appeal of the identical decision entered in Appellee’s main

 bankruptcy case. The primary issues in dispute pertain to the ownership of the stock

 claimed by the Debtor as property of the estate and the extent and existence of

 Appellants’ creditor claims in the Daren Daly Bankruptcy Case. Such issues are part

 of the larger bankruptcy case and directly relate to the ultimate decisions regarding
                                             3
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Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 4 of 6
                                                                 Case No.: 0:23-cv-62228-RLR


 confirmation of a plan. It is therefore logical for the appeal of the Adversary

 Proceeding which was decided as a result of the Court’s determination of the

 threshold issues in the main case to be consolidated into this appeal arising out of

 the main bankruptcy case.

                                Memorandum of Law

       The consolidation of proceedings is governed by Rule 42(a) of the Federal

 Rules of Civil Procedure which states as follows:

       If actions before the court involve a common question of law or fact,
       the court may:
              (1) join for hearing or trial any or all matters at issue in
                    the actions;
              (2) consolidate the actions; or
              (3) issue any other orders to avoid unnecessary cost or
                    delay.

 Rule 42(a)(1), Fed.R.Civ.P.

       And, Rule 8003(b)(2) of the Federal Rules of Bankruptcy Procedures provides

 that when the parties have filed separate notices of appeal, the district court may join

 or consolidate the appeals. Although not directly on point in the case at bar, generally

 dealing with the situation when there are cross-appeals, it is nevertheless collateral

 support for consolidating the adversary appeal into this appeal.

       In the instant appeal and the appeal in the adversary proceeding, the parties

 are identical, as are nearly all of the issues, and the issue of stock ownership as well

 as the allowance or objection to Appellants’ claim were the center of focus in the
                                              4
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Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 5 of 6
                                                                 Case No.: 0:23-cv-62228-RLR


 main bankruptcy case, and were thus the threshold issues in the adversary

 proceeding. See, Memorandum Opinion at 8. It would be inefficient and ineffective

 to have separate appeals resulting from the same determination of fact and law which

 was made in the main bankruptcy case. It is accordingly appropriate to consolidate

 the two appeals. Frantz v. Idaho Indep. Bank (In re Frantz), 2018 U.S. Dist. LEXIS

 92384, *3-4 (“consolidating the cases will better utilize judicial resources” when

 “[t]he Appellants and Appellees are the same in all [of the] cases and the three orders

 Appellants are appealing are from the same underlying Bankruptcy proceedings.”);

 see also, Buczek v. Keybank N.A., 2022 U.S. Dist. LEXIS 152400, *2 (holding that

 “where the relevant orders being appealed from concern the same facts, involve the

 same or similar parties, and were issued by the same judge, consolidation is

 appropriate.” [citations omitted]); and Fisher Island Invs., Inc. v. Solby+Westbrae

 Partners, 778 F.3d 1172, 1176-1177 (finding it warranted to consolidate appeals in

 a bankruptcy proceeding in which the issue of stock ownership was material to both

 appeals).

                          Local Rule 7.1(a)(3) Certification

       Counsel for Appellants has conferred with Appellee in a good faith effort to

 resolve the issues raised in this Motion and although Appellee does not agree with

 all of the factual statements made by Appellants, Appellee does not oppose the relief

 sought herein.
                                              5
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Case 0:23-cv-62228-RLR Document 5 Entered on FLSD Docket 12/01/2023 Page 6 of 6
                                                                     Case No.: 0:23-cv-62228-RLR


            WHEREFORE, Appellants, by and through undersigned counsel, request that

 this Honorable Court grant this Motion, consolidate the appeal in the Adversary

 Proceeding with this appeal in the Daren Daly Bankruptcy Case and grant Appellants

 any further relief this Honorable Court deems just and proper.



 Dated this 1st day of December, 2023.               LORIUM LAW
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                                                     By: /s/ Chad P. Pugatch
                                                            Chad P. Pugatch
                                                             Fla. Bar No. 220582
                                                             Craig A. Pugatch, Esq.
                                                             Fla. Bar No. 653381

                                     Certificate of Service

            I certify that a true copy of the foregoing has been furnished on this 1st day of

 December, 2023 on Monique D. Hayes, Esq., and Isaac M Marcushamer, Esq.,

 DGIM Law, PLLC, 2875 NE 191st Street, Suite 705, Aventura, FL 33180;

 monique@dgimlaw.com and isaac@dgimlaw.com.

                                                     /s/ Chad P. Pugatch
                                                         Chad P. Pugatch


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